I must respectfully dissent as I would affirm the trial court. The "law of the case" doctrine and/or res judicata dispose of the issue of whether Mr. Collette had to make the $30,000 payment regardless of whether he received a bonus.  In her January 11, 1999 magistrate's decision, the magistrate specifically found that the $90,000 spousal support obligation was not dependent on Mr. Collette's receipt of a bonus.  Mr. Collette specifically objected to this portion of the magistrate's decision in his January 25, 1999 objections to the magistrate's decision.  The trial court reviewed these objections and overruled them on May 18, 2000.  The trial court's order was affirmed by this court in Collette I. Accordingly, I would affirm.